Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 1 of 32 PageID:
                                   2348
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 2 of 32 PageID:
                                   2349
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 3 of 32 PageID:
                                   2350
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 4 of 32 PageID:
                                   2351
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 5 of 32 PageID:
                                   2352
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 6 of 32 PageID:
                                   2353
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 7 of 32 PageID:
                                   2354
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 8 of 32 PageID:
                                   2355
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 9 of 32 PageID:
                                   2356
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 10 of 32 PageID:
                                   2357
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 11 of 32 PageID:
                                   2358
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 12 of 32 PageID:
                                   2359
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 13 of 32 PageID:
                                   2360
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 14 of 32 PageID:
                                   2361
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 15 of 32 PageID:
                                   2362
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 16 of 32 PageID:
                                   2363
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 17 of 32 PageID:
                                   2364
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 18 of 32 PageID:
                                   2365
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 19 of 32 PageID:
                                   2366
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 20 of 32 PageID:
                                   2367
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 21 of 32 PageID:
                                   2368
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 22 of 32 PageID:
                                   2369
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 23 of 32 PageID:
                                   2370
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 24 of 32 PageID:
                                   2371
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 25 of 32 PageID:
                                   2372
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 26 of 32 PageID:
                                   2373
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 27 of 32 PageID:
                                   2374
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 28 of 32 PageID:
                                   2375
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 29 of 32 PageID:
                                   2376
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 30 of 32 PageID:
                                   2377
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 31 of 32 PageID:
                                   2378
Case 3:24-cv-00040-ZNQ-TJB   Document 51   Filed 04/04/24   Page 32 of 32 PageID:
                                   2379
